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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

CENTRO PRESENTE, a membership
organization, et al,

          Plaintiffs,

          V.                                               Case No. l:18-cv-10340

DONALD J. TRUMP, President of the United
States, in his official capacity, et al.

          Defendants.



               AMENDED STIPULATION AND                        ORDER GOVERNING
                              CONFIDENTIAL INFORMATION


          WHEREAS, on February 22, 2018, Plaintiffs filed the above-captioned action (the

"Instant Action"):

          WHEREAS, in the Instant Action, Plaintiffs challenge the tennination of Temporary

Protected Status for Haiti, El Salvador, and Honduras;

          WHEREAS, on July 23, 2018, the Court granted in part and denied in part Defendants'

motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), see ECF

No. 47;

          WHEREAS, on September 7, 2018, the Court determined that Plaintiffs would be

permitted to undertake some discovery to supplement the administrative records that Defendants

previously produced to Plaintiffs;

          WHEREAS, on October 18,2018, this Court entered the parties' stipulation and proposed

order governing confidential information (ECF No. 61); and
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           WHEREAS, the parties seek to amend and supersede the previous order governing
confidential information based on their assessment of the discovery conducted thus far in this

litigation,

           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among

the attorneys for Plaintiffs and Defendants, as follows:

           1.      Personnel Contact Information

                1. As used herein, the term "Personnel Contact Information" shall apply to all

                   official/organizational and personal e-mail addresses, phone numbers, and

                   addresses ofgovernment personnel appearing on documents produced.'
                2. Plaintiffs will protect all such Personnel Contact Information as follows:

                               a) Except as provided in Paragraph 2(b),Plaintiffs will not disseminate

                                  or publish such Personnel Contact Information in unredacted form,

                                  whether on the Court's docket or through out-of-court distributions.

                               b) Plaintiffs may disseminate such Personnel Contact Information in

                                  unredacted form to and between their attorneys and agents in the

                                  Instant Action, including any expert or consultant who is expressly

                                  retained to assist in connection with the Instant Action ("Plaintiffs'

                                  Agents"). The undersigned Counsel shall require Plaintiffs' Agents

                                  receiving such documents to manifest their assent to be bound by

                                  the provisions of this Order by signing a copy of the annexed




         ' The parties agree that Defendants need not produce to Plaintiffs the alien files ("A-files") of any
party to any other lawsuit and accordingly this Stipulation and Order does not address those confidential
A-files.
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                                 "Confidentiality Agreement" prior to being afforded access to any

                                 such materials.


                             c) Plaintiffs may otherwise use the documents produced to them,

                                 whether in court filings or for other appropriate purposes, that are

                                 not otherwise covered by this Stipulation.

              3. Defendants maintain their right to redact Personnel Contact Information to the

                 extent that such information appears on any documents produced to Plaintiffs. If

                 any redacted Personnel Contact Information is necessary for Plaintiffs' case, the

                 Parties will meet and confer in good faith to resolve any conflicts. Plaintiffs agree

                 to alert defense counsel should Plaintiffs come across what appears to be purely

                 personal contact Information in unredacted form, though Plaintiffs are under no

                 obligation to affirmatively search for any such information.^
        II.      Non-Responsive and Sensitive Information

              4. Defendants may designate certain documents as containing "Non-Responsive

                 Information" or "Sensitive Information." Non-Responsive Information is defined

                 as information that is not itself responsive to Plaintiffs' discovery requests but that

                 appears on documents that are otherwise responsive to Plaintiffs' discovery

                 requests.   Sensitive Information is defined as non-privileged information the

                 dissemination of which could constitute an undue intrusion into personal privacy

                 or impose undue annoyance, embarrassment, or oppression within the meaning of

                 Federal Rule of Civil Procedure 26(c)(1).


        ^To expedite production of documents in otherTPS litigation, Defendants have produced certain
documents without first redacting Personnel Contact Information. Pursuant to Paragraph 2(b) of this
Stipulation, Plaintiffs are to redact any such Personnei Contact Information prior to disseminating any
documents that contain unredacted Personnel Contact Information.
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       5. The Non-Responsive Information and the Sensitive Information, and documents

          containing Non-Responsive Information or Sensitive Information, will not be

          disseminated in unredacted form outside of Plaintiffs and Plaintiffs' Agents. The

          undersigned Counsel shall require Plaintiffs' Agents receiving such documents to

          manifest their assent to be bound by the provisions of this Order by signing a copy

          of the annexed "Confidentiality Agreement" prior to being afforded access to any

          such materials.

       6. Notwithstanding paragraph 5, should Plaintiffs wish to use a document containing

          Non-Responsive Information or Sensitive Information as an unredacted exhibit to

          any filing in the Instant Action, Plaintiffswill first meet and confer with Defendants

          regarding whether or not the document may be filed publicly, with or without

          redacting the Non-Responsive Information or Sensitive Information. Otherwise,

          Plaintiffs shall move to impound the document so that Defendants will have an

          opportunity to respond with their arguments in support of impoundment.

III.      Fed. R. Evid. 502(d^ Provision

       7. For purposesof this provision, "document" includes all items listed in Fed. R. Civ.

          P. 34(a)(1)(A) and (B). "Documents produced" includes all documents made

          available for review or produced in any manner during this litigation.

       8. This provision governs those procedures that shall be used in the event of an

          inadvertent production ofa document during this litigation. Inadvertent production

          of a document, or part of a document, shall not constitute a waiver of any privilege

          or protection as to any portion ofthat document, or as to any undisclosed privileged

          or protected communications or information concerning the same subject matter.
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      in this or any other proceeding. This agreement applies to attorney-client privilege

      and work-product protections, as well as all other protections afforded by Federal
      Rule of Civil Procedure 26(b) and any other applicable privilege. Nothing in this

      agreement shall constitute an admission that any document disclosed in this
      litigation is subject to any of the foregoing privileges or protections, or that any

      party is entitled to raise or assert such privileges. Additionally, nothing in this

      agreement shall prohibit parties from withholding from production any document

      covered by any applicable privilege or other protection. Nothing in this agreement

      shall limit a party's right to conduct a pre-production review of documents as it

      deems appropriate.

   9. If a party discovers a document (or anypartthereof) produced by another party that

      it knows to be privileged or otherwise protected and that has not been designated

      as privileged or protected by this Stipulation, the receiving party shall promptly

      notify the producing party and must then return the document or destroy it and

      certify to the producing party that it has been destroyed. Nothing in this Order is

      intended to shift the burden to identify privileged and protected documents from

      the producing party to the receiving party.

   10. If the producing party determines that a document produced (or any part thereof) is

      subject to a privilege or privileges, the producing party shall promptly give the

      receiving party notice of the claim of privilege ("privilege notice").

   11. The privilege notice must contain information sufficient to identify the document

      including, if applicable, a Bates number as well as identification of the privilege

      asserted and its basis.
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   12. Upon receiving the privilege notice, ifthe receiving party agrees with the privilege

      assertionmade,the receivingparty must promptlyreturn the specifieddocument(s)

      and any copies or destroy the document(s) and copiesand certify to the producing

      party that the document(s) and copies have been destroyed. The receiving party

      must sequester and destroy any notes taken about the document. If a receiving

      party disclosed thedocument or information specified inthenotice before receiving

      the notice, it must take reasonable steps to retrieve it, and so notify the producing

      party of the disclosure and its efforts to retrieve the document or information.

   13. Upon receiving the privilege notice, if the receiving party wishes to dispute a

      producing party's privilege notice, the receiving party shall promptly meet and

      confer with the producing party. The document(s) shall be sequestered and not be

      used by the receiving party in the litigation (e.g., filed as an exhibit to a pleading or

      used in deposition) while the dispute is pending. If the parties are unable to reach

      an agreement about the privilege assertions made in the privilege notice, the

      receiving party may make a sealed motion for a judicial determination of the

      privilege claim.

   14. Pending resolution of the judicial determination, the parties shall both preserve and

      refrain from using the challenged information for any purpose and shall not disclose

      it to any person other than those required by law to be served with a copy of the

      sealed motion. The receiving party's motion challenging the assertion must not

      publicly disclose the information claimed to be privileged. Any further briefing by

      any party shall also not publicly disclose the information claimed to be privileged
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         if the privilege claim remains unresolved or is resolved in the producing party's
         favor.


IV.      Miscellaneous Provisions

      15. Nothing in this Stipulation and Order shall affect the right of any party to seek

         additional protection against the disclosure of documents or materials.

      16. Defendants have redacted website links internal to the Government. To the extent

         any such link has not been redacted, Plaintiffs agree to treat it as Personnel Contact

         Information subject to Paragraphs 1 through 5 above.

      17. Any party may apply to the Court at any time, upon proper notice, for a

         modification of this Stipulation and Order with respect to the handling or

         designation of any document or for any other purpose.

      18. This Stipulation and Order shall be binding upon any present and future party to

         the Instant Action.


      19. This Stipulation and Order shall be effective and enforceable upon signature by

         counsel and endorsement by the Court.




SO ORDERED.


DatedQtBi^T,. 2019


                                HON. DENISEJ. CASPER
                                United States District Judge
                                District of Massachusetts
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Dated: June 26,2019               Respectfully submitted,

                                  JOSEPH H. HUNT
                                  Assistant Attorney General

                                  JOHN R. TYLER
                                  Assistant Branch Director

                                  /s/Adam D. Kirschmr
                                  ADAM D. KIRSCHNER
                                  ILBarNo. 6286601
                                  Senior Trial Counsel
                                  United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                  1100 L Street NW, Room 11020
                                  Washington, DC 20530
                                         Tel.:       (202) 353-9265
                                         Fax:        (202)616-8460
                                  E-mail: adam.kirschner@usdoj.gov

                                  Mailing Address:
                                  Post Office Box 883
                                  Washington, D.C. 20044

                                  Courier Address:
                                  1100 L Street NW, Room 11020
                                  Washington, D.C. 20005

                                         Counselfor Defendants

                                  /s/Kevin O'Keefe
                                  Eric J. Marandett (BBO# 561730)
                                  Carlos J. Perez-Albueme (BBO# 640446)
                                  Kevin P. O'Keefe (BBO# 697101)
                                  Xing-Yin Ni (BBO# 693876)
                                  Leah R. Milbauer (BBO# 703717)
                                  Margaret J. Bumside (BBO# 698763)
                                  Allison S. Ercolano (BBO# 698601)
                                  Natalia Smychkovich (BBO# 699289)
                                  Anna S. Roy (BBO# 703884)
                                  Choate, Hall & Stewart LLP
                                  Two International Place
                                  Boston, Massachusetts 02110
                                  (617)248-5000
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                            Oren Sellstrom (BBO# 569045)
                            OrenNimni (BBO #691821)
                            Ivan Espinoza-Madrigal (Admitted Pro Hac Vice)
                            Lawyers for Civil Rights
                            61 Batterymarch Street, 5th Floor
                            Boston, Massachusetts 02110
                            (617) 988-0624

                                   Counselfor Plaintiffs
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                                CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the Court's CM/ECF system will be
served electronically on the registered participants as identified on the NEF.
                                                                            /s/Adam Kirschner




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                        IN THE UNITED STATES DISTRICT COURT
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CENTRO PRESENTE, a membership
organization, et al.

         Plaintiffs,

                                                             Case No. l:18-cv-10340


DONALD J. TRUMP, President of the United
States, in his official capacity, et al..

         Defendants.



                             CONFIDENTIALITY AGREEMENT



   1. I,,                             declare that:


   2. I have received a copy of the Protective Order(the "Order") entered by the Court in Casa

         de Maryland, et al v. Trump, et al. I have read the Orderand understand its provisions.

   3. I will comply with all of the provisions of the Order.

   4. I consent to the jurisdiction of the United States DistrictCourt for the District of Maryland

         to resolve any issues with respect to my compliance with the Order.



Dated:                                        Signature:




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